Case 4:20-cr-00029-ALM-CAN Document 6 Filed 02/12/20 Page 1 of 3 PageID #: 10




                        IN THE UNITED STATES DISTRICT COU T
                         FOR THE EASTERN DISTRICT OF TEXAS                                      2323
                                 SHERMAN DIVISION                                CH s. o
                                                                                     Texas Court
                                                                                      asS*fe
 UNITED STATES OF AMERICA                                SEALED

 v.                                                       Case No. 4:20CR
                                                          Judge

 CRAIG BEASON (2)




                                        INDICTMENT

      THE UNITED STATES GRAND JURY CHARGES:

                                        COUNT ONE

                                                   Violation: 21 U.S.C. § 846 (Conspiracy
                                                   to Possess with Intent to Distribute
                                                   Methamphetamine)

          That from sometime in or around June 2019, and continuously thereafter up to in or

 around September 2019, in the Eastern District of Texas and elsewhere, and

 Craig Beason, did knowingly and intentionally combine, conspire, and agree with each

 other and other persons known and unknown to the United States Grand Jury, to knowingly

 and intentionally possess with the intent to distribute a substance or mixture containing a

 detectable amount of methamphetamine, in violation of 21 U.S.C. § 841(a)(1).

          In violation of 21 U.S.C. § 846.

              NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

          As a result of committing the offenses charged in this Indictment, the defendant

 shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property used to commit

 Indictment
 Page 1
Case 4:20-cr-00029-ALM-CAN Document 6 Filed 02/12/20 Page 2 of 3 PageID #: 11




 or facilitate the offenses, proceeds from the offenses, and property derived f om proceeds

 obtained directly or indirectly from the offenses.


                                                      A TRUE BILL



                                                  GRAND JURY FOREPERSON

 JOSEPH D. BROWN
 UNITED STATES ATTORNEY



 G.R. JACKSON Date
 ANAND VARADARAJAN

 Attorneys for the United States




Indictment
Page 2
Case 4:20-cr-00029-ALM-CAN Document 6 Filed 02/12/20 Page 3 of 3 PageID #: 12




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

  UNITED STATES OF AMERICA                      §          SEALED
                                                §
  v.                                            §          CaseNo. 4:20CR
                                                §          Judge
                                                §
  CRAIG SEASON (2)                              §



                                  NOTICE OF PENALTY

                                          Count One

 Violation: 21 U.S.C. § 846

 Penalty: Imprisonment for a term of not more than 20 years, a fine not to exceed $1
                million, or both; and a term of supervised release of at least three years.

                If it is shown that the defendant committed such violation after a prior
                conviction for a felony drug offense has become final, not more than 30
                years, a fine not to exceed $2 million, or both; a term of supervised release
                of at least 6 years.

 S ecial
 Assessment: $100.00




 Notice of Penalty
 Page 1
